Case 8:19-cr-00061-JVS Document 362 Filed 10/23/20 Page1of1 Page ID #:5563
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES CASE NUMBER:
PLAINTIFF(S) SA-CR-19-61
V.
MICHAEL J. AVENATTI NOTICE OF MANUAL FILING
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Date Attorney Name

Michael J. Avenatti

 

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